
Ultimate Health Products, Inc., as Assignee of KERWIN BOYEA, Appellant,
againstAllstate Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Kings County (Katherine A. Levine, J.), entered March 4, 2013. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment, and defendant cross-moved for summary judgment dismissing the complaint on the ground that the action was premature because plaintiff had failed to provide requested verification. By order entered March 4, 2013, the Civil Court denied plaintiff's motion and granted defendant's cross motion.
For the reasons stated in Great Health Care Chiropractic, P.C., as Assignee of Carlos Thomas v Hereford Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-1720 Q C], decided herewith), the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: June 06, 2016










